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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA

FARMERS MUTUAL FIRE INSURANCE )
COMPANY OF OKARCHE,           )
                              )
    Plaintiff,                )
                              )
    v.                        ) Case No: 5:22-cv-00752-D
                              )
HL MOTOR GROUP, INC., et al., )
                              )
    Defendants.               )

                                           ORDER

      The Court upon consideration of Defendants, HL Motor Group, Inc. and Ognjen

Milanovic, Motion Continue Case Scheduling, amends the December 1, 2022 Case

Scheduling Order as follows:

Plaintiffs must disclose expert witnesses by May 19, 2023;

Defendants must disclose expert witnesses and by June 19, 2023;

All discovery must be completed by August 18, 2023;

Dispositive and Daubert Motions must be filed by September 1, 2023;

Plaintiffs and Defendants must disclose trial witness and exhibits lists by September 15,
2023;

A Pre-Trial Report must be filed by September 22, 2023;

Motions in Limine, Jury Instructions, Verdict Forms, Voir Dire Requests and Trial Briefs
must be filed by September 15, 2023; and,

Trial is scheduled for October 25, 2023.


                                               Stephen P. Friot
                                               United States District Judge
